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 7
      Attorneys for Plaintiff, CINDY BAKER, on behalf of herself and all others
 8    similarly situated
                           UNITED STATES DISTRICT COURT
 9

10         CENTRAL DISTRICT OF CALIFORNIA – CENTRAL DISTRICT
11
      CINDY BAKER, on behalf of herself      Case No. 2:18-cv-03097-VAP-PJW
12    and all other similarly situated,
13                                               FIRST AMENDED CLASS
                    Plaintiff                    ACTION COMPLAINT FOR:
14

15                      v.                       1. VIOLATION OF MAGNUSON
                                                    MOSS WARRANTY ACT, 15
16    NESTLE WATERS NORTH                           USC 32301 et seq.
17    AMERICA, a Delaware corporation,           2. VIOLATION OF CALIFORNIA
      and DOES 1 through 10, inclusive,             FALSE ADVERTISING LAWS
18
                                                    [Business and Professional Code
19                  Defendants.                     §17500 et seq., Cal. Civ. Code §
                                                    1750 et seq.]
20
                                                 3. VIOLATION OF CALIFORNIA
21                                                  UNFAIR COMPETITION LAW
                                                    [Bus. & Prof. Code § 17200]
22
                                                 4. BREACH OF EXPRESS
23                                                  WARRANTY
24
                                                 5. FRAUD
                                                 6. NEGLIGENT
25                                                  MISREPRESENTATION
26                                               7. RESTITUTION
                                                 8. INJUNCTION
27

28                                            DEMAND FOR JURY TRIAL
                                             1
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 1           Plaintiff Cindy Baker, on behalf of herself and all others similarly situated
 2    brings this action against defendant Nestle Waters North America, and DOES 1
 3    through 100 and state:
 4
                                        I. PARTIES
 5
         A. Plaintiff
 6
           1.       Plaintiff Cindy Baker (“Plaintiff”) is a California resident who on
 7
      multiple occasions in the year prior to the filing of this action purchased and
 8
      consumed Nestle Pure Life Purified bottled water for herself and her family in Los
 9
      Angeles, California. On about October 31, 2017, Plaintiff purchased a case of
10
      Nestle Pure Life Purified bottled water for her and her family at the Smart & Final
11
      located in Encino, California.
12

13       B. Defendants
14         2.       Defendant Nestle Waters North America (“Nestle” or “Defendant”) is
15    a Delaware corporation located in Arlington, Virginia, and doing business
16    throughout California, including the County of Los Angeles.
17
           3.       Plaintiff is informed and believes, and based thereon alleges that at all
18
      times relevant to this action, the named defendant and defendants DOES 1 through
19
      10 were affiliated and were an integrated enterprise.
20
                                II.   FACTUAL ALLEGATIONS
21
           4.       Defendant advertises, markets and sells to the public its bottled
22
      drinking water brand, Nestle Pure Life Purified. Plaintiff alleges recent testing and
23
      analysis of Defendant’s “Pure Life Purified” drinking water shows Defendant’s
24
      drinking water is not of pure or purified quality, but instead contains high levels of
25
      plastics and micro plastics.
26
           5.       Plaintiff alleges that Defendant’s conduct violates the Magnuson
27

28

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 1    Moss Warranty Act, 15 U.S.C. §§2301, et seq. (the “MMWA”), gives rise to
 2    common law fraud, violates the unlawful unfair, and fraudulent prongs of the
 3    Unfair Competition Law, Cal. Bus. & Prof. Code §§17200, et seq. (the “UCL”),
 4
      violates the False Advertising Law, Cal. Bus. & Prof. Code §§17500, et seq. (the
 5
      “FAL”), and violates the Consumers Legal Remedies Act, Cal. Civ. Code
 6
      §§1750, et seq. (the “CLRA”). Plaintiff also alleges that Defendant’s conduct is
 7
      grounds for restitution on the basis of quasi-contract.
 8
           6.       Recent testing and analysis of various drinking water brands was
 9
      conducted as part of a study at the State University of New York in Fredonia. (See
10
      Synthetic Polymer Contamination in Bottled Water Report, State University of
11
      New York in Fredonia, attached as Exhibit A to this pleading, herein after “the
12
      Report”.)
13
           7.       The Report found Nestle Pure Life Purified bottled drinking water
14
      contained high levels of plastics. Defendant’s Pure Life Purified drinking water
15

16
      was also found to contain “micro plastics” such as polypropylene, nylon, and

17    polyethylene terephthalate.

18         8.       Tests on more than 250 bottles from 11 brands showed contamination
19    with plastic particles in the 100 micron, or 0.10 millimeter size range, compared to
20    a global average of 10.4 plastic particles per liter. Tests on Defendant’s drinking
21    water showed Defendant’s Pure Life Purified drinking water had a concentration of
22    more than 10,000 particles of plastics per liter. This was the most of the brands
23    tested.
24         9.       The Report states that “[the] data suggests contamination is at best
25    partially coming from the packaging and / or the bottling process.”
26         10.      Research has shown some plastic particles found in drinking water
27

28

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 1    might lodge in the intestinal wall, while others might be taken up by intestinal
 2    tissue to travel through the body’s lymphatic system. Particles around 110 microns
 3    in size (0.11 millimeters) can be taken into the body’s hepatic portal vein, which
 4
      carries blood from the intestines, gallbladder, pancreas and spleen to the liver.
 5
      Smaller debris, such as “micro plastics”, in the range of 20 microns (0.02
 6
      millimeters) in drinking water have been shown to enter the bloodstream before it
 7
      lodges in the kidneys and liver, according to the UN’s Food and Agriculture
 8
      Organization.
 9
           11.      Plaintiff alleges she would not have purchased or consumed
10
      Nestle Pure Life Purified bottled water if she knew about the high levels of plastics
11
      and micro plastics contained in this water. Plaintiff alleges based on Defendant’s
12
      “pure” and “purified” representations on its water bottle labels, a reasonably
13
      prudent consumer would not expect Nestle Pure Life Purified drinking water to
14
      include synthetic or artificial ingredients, especially the potentially harmful plastics
15

16
      and micro plastics described herein.

17         12.      Plaintiff alleges Defendant profited unfairly from the marketing and

18    sale of its Nestle Pure Life Purified drinking bottled water in California to Plaintiff
19    and the proposed class.
20         13.      Plaintiff alleges she and the proposed class did not receive the “pure”
21    or “purified” water they bargained for when she and the proposed class purchased
22    Defendant’s drinking water. Plaintiff and the proposed class have lost money as a
23    result of paying a premium for this commercially sold drinking product, which she
24    and the proposed class would not have otherwise purchased.
25         14.      Plaintiff alleges had she known that Defendant’s representations that
26

27

28

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 1    its drinking water was “pure” and “purified” were false, she and the proposed class
 2    would not have reasonably purchased Defendant’s drinking water, and would
 3    have reasonably purchased another brand.
 4
           15.      Plaintiff alleges Defendant’s conduct alleged herein is false and
 5
      misleading and violates both California’s Sherman Food, Drug, and Cosmetic
 6
      Law (“Sherman Law), §111730 and other applicable state laws. Defendant’s
 7
      exact and identical conduct which violates the Sherman Law and other applicable
 8
      states laws also violates the Federal Food, Drug and Cosmetic Act (“FDCA”) 21
 9
      U.S.C. §362(a).
10
           16.      Plaintiff alleges the exact and identical conduct alleged herein, and
11
      only this conduct, serves as the sole factual basis of each state law cause of
12
      action brought in this First Amended Complaint, and Plaintiff does not seek to
13
      enforce, on behalf of herself or the proposed class, any of the state law claims
14
      raised herein to impose any standard of conduct that exceeds that which would
15

16
      violate the FDCA and regulations adopted pursuant thereto.

17         17.      Plaintiff alleges her state law claims are not preempted by the

18    FDCA because Plaintiff’s claims for California state law violations seek to
19    enforce the same standard of conduct required by federal law.
20         18.      Plaintiff alleges that for any and all of Plaintiff’s state law causes of
21    action, the allegations supporting those causes of action and any relief sought
22    for those state law causes of action, are the sole basis for this lawsuit.
23         19.      Plaintiff expressly disclaims any attempt to hold Defendant to a
24    higher standard of conduct than what is required under federal law, and Plaintiff
25    does not for herself or for any class member seek any form of relief based on any
26    conduct exceeding what is required under federal law.
27         20.      Plaintiff seeks to represent the following class of California
28

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 1    consumers pursuant to Federal Rule of Civil Procedure Rule 23:
 2                  All persons who purchased Nestle Pure Life Purified bottled
 3                  drinking water in California, in the 4 years prior to the filing of
 4
                    this action, and continuing.
 5
             Plaintiff reserves the right to amend this class definition or to add subclasses.
 6
                                   IV.   CLASS ALLEGATIONS
 7
           21.      Numerosity. The members of the proposed class are so numerous that
 8
      their individual joinder is impracticable. Plaintiff is informed and believes, and on
 9
      that basis alleges, that the proposed class contains hundreds of thousands of
10
      members. The precise number of proposed class members is unknown to Plaintiff.
11
      The true number of the proposed class is known by the Defendant, however, and
12
      thus, may be notified of the pendency of this action by first class mail, electronic
13
      mail, and by published notice.
14
           22.      Existence and Predominance of Common Questions of Law and
15

16
      Fact. Common questions of law and fact exist as to all members of the proposed

17    class and predominate over any questions affecting only individual proposed class

18    members. These common legal and factual questions regarding, among other
19    things, whether bottled water marketed, labeled, and sold as “pure” and “purified”
20    constitutes an actionable act or omission based upon the recent studies finding high
21    levels of plastics in Nestle Pure Life Purified bottled water and include , but are not
22    limited to, the following:
23                 (a)      whether Defendant had adequate substantiation for their claims
24                          prior to making them;
25                (b)       whether the advertising claims made by Defendant are true, or
26                          are false and/or misleading, or reasonably likely to deceive;
27                (c)       whether Defendant’s alleged conduct violates public policy;
28

                                                  6
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 1                (d)       whether the alleged conduct constitutes violations of the laws
 2                          asserted;
 3                (e)       whether Defendant engaged in false or misleading advertising;
 4
                  (f)       whether Plaintiff and the proposed class have sustained
 5
                            monetary loss and the proper measure of that loss;
 6
                  (g)       whether Plaintiff and the proposed class are entitled to an award
 7
                            of punitive damages;
 8
                  (h)       whether Plaintiff and the proposed class are entitled to
 9
                            declaratory and injunctive relief; and
10
                  (i)       whether Plaintiff and the proposed class are entitled to
11
                            restitution.
12
           23.      Typicality. Plaintiff's claims are typical of the claims of the proposed
13
      class in that the Defendants were unjustly enriched as a result of Plaintiff’s and the
14
      proposed class’ respective purchases of the bottled water at issue.
15

16
           24.      Adequacy of Representation. Plaintiff will fairly and adequately

17    protect the interests of the members of the proposed class. Plaintiff has retained

18    counsel experienced in complex consumer class action litigation. Plaintiff intends
19    to prosecute this action vigorously. Plaintiff has no adverse or antagonistic
20    interests to those of the proposed class.
21         25.      Superiority. A class action is superior to all other available means for
22    the fair and efficient adjudication of this controversy. The damages or other
23    financial detriment suffered by individual proposed class members is relatively
24    small compared to the burden and expense that would be entailed by individual
25    litigation of their claims against the Defendant. It would thus be virtually
26    impossible for the class, on an individual basis, to obtain effective redress for the
27    wrongs done to them. Furthermore, even if proposed class members could afford
28

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 1    such individualized litigation, the court system could not. Individualized litigation
 2    would create the danger of inconsistent or contradictory judgments arising from the
 3    same set of facts. Individualized litigation would also increase the delay and
 4
      expense to all parties and the court system from the issues raised by this action. By
 5
      contrast, the class action device provides the benefits of adjudication of these
 6
      issues in a single proceeding, economies of scale, and comprehensive supervision
 7
      by a single court, and presents no unusual management difficulties under the
 8
      circumstances here.
 9
           26.      Unless a class action is certified here, Defendant will retain monies
10
      received as a result of its conduct that was taken from Plaintiff and proposed class
11
      members. Unless a class-wide injunction is issued, Defendant will continue to
12
      commit the violations alleged, and the proposed class members and the general
13
      public will continue to be misled.
14
                                 FIRST CLAIM FOR RELIEF
15
                   Magnuson Moss Warranty Act, 15 U.S.C. §§2301, et seq.
16                  Violation of Written Warranty Under Federal Law
17
           27.      Plaintiff hereby incorporates all other paragraphs of this First
18
      Amended Complaint and restate them as if they were fully set forth herein. This
19
      claim is brought by Plaintiff on behalf of herself and the proposed class of
20
      purchasers of Nestle Pure Life Purified drinking water solely for breach of federal
21
      law. This claim is not based on any violation of state law.
22
           28.      The MMWA, 15 U.S.C. §§2301, et seq., creates a private federal
23
      cause of action for breach of a “written warranty” as defined by the Act. 15 U.S.C.
24
      §2301(6) and §2310(d)(1).
25
           29.      Defendant’s bottled drinking water is a “consumer product” as that
26

27

28

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 1    term is defined by 15 U.S.C. §2301(1), as they constitute tangible personal
 2    property which is distributed in commerce and which is normally used for
 3    personal, family or household purposes.
 4
           30.      Plaintiff and members of the proposed class are “consumers” as
 5
      defined by 15 U.S.C. §2301(3), since they are buyers of Defendant’s bottled
 6
      drinking water for purposes other than resale.
 7
           31.      Defendant is an entity engaged in the business of making its bottled
 8
      drinking water available, either directly or indirectly, to consumers such as
 9
      Plaintiff and the proposed class. As such, Defendant is a “supplier” as defined in
10
      15 U.S.C. §2301(4).
11
           32.      Through their labeling, Defendant gave and offered a written warranty
12
      to consumers relating to the nature and quality of the ingredients in Defendant’s
13
      bottled drinking water. As a result, Defendant is a “warrantor” within the meaning
14
      of 15 U.S.C. §2301(5).
15

16
           33.      Plaintiff alleges Defendant provided a “written warranty” within the

17    meaning of 15 U.S.C. 2301(6) for its bottled drinking water by prominently

18    affirming and promising in writing on the labeling of the bottled water that they
19    were “pure” and “purified”.
20         34.      Plaintiff alleges Defendant breached its written warranty by
21    Defendant failing to provide pure and purified drinking water to Plaintiff and all
22    other California purchasers of this product. Since Defendant’s bottled drinking
23    water did not have the requisite qualities and character promised by Defendant’s
24    written warranties, Defendant’s bottled drinking water was not defect free, and did
25    not comply with Defendant’s obligation under the written warranty to reasonably
26    supply “pure” and “purified” bottled drinking water to Plaintiff and the proposed
27    class.
28

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 1        35.      Plaintiff alleges Defendant was provided notice and a reasonable
 2   opportunity to cure the defects in Defendant’s bottled drinking water, and remedy
 3   the harm to Plaintiff and the proposed class, as set forth in Plaintiff’s letter to
 4
     Defendant dated March 30, 2018.
 5
          36.      All California state law causes of action asserted in this First
 6
     Amended Complaint, the allegations supporting those state law causes of action
 7
     asserted herein and any forms of relief sought for those state law causes of
 8
     action asserted herein shall be read consistent with the scope of Plaintiff’s factual
 9
     assertions alleged herein.
10
          37.      Plaintiff on behalf of herself and the proposed class is entitled to
11
     recover “damages and other legal and equitable relief” and “costs and expenses”
12
     as provided in 15 U.S.C. §2310(d).
13
                               SECOND CLAIM FOR RELIEF
14
                           Violation of California False Advertising Laws
15
                           Business and Professional Code §17500 et seq.,
16                                  Cal. Civ. Code § 1750 et seq.
17
          38.      Plaintiff incorporates by reference and realleges each and every
18
     allegation contained in the foregoing paragraphs as though fully set forth herein.
19
          39.      Plaintiff brings this claim individually and on behalf of the proposed
20
     class.
21
          40.      This cause of action is brought pursuant to the California Business
22
     and Professions Code § 17200 et seq. and Consumers Legal Remedies Act,
23
     California Civil Code §1750, et seq. (“CLRA”). Plaintiff and members of the
24

25
     proposed class are consumers as defined by California Civil Code §1761(d).

26
     Defendant’s drinking water described herein are goods within the meaning of

27   California Civil Code §1761(a).

28        41.      Plaintiff alleges Defendant violated and continues to violate the
                                                10
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 1   CLRA by engaging in conduct alleged herein which violates California Civil Code
 2   §1770(a) which was intended to result in, and did result in, the sale of Defendant’s
 3   drinking water:
 4
                   (1)     Misrepresenting the source, sponsorship, approval, or
 5
                           certification of goods or services;
 6
                   (2)     Using deceptive representations or designations of geographic
 7
                           origin in connection with goods or services;
 8
                   (3)     Representing that goods or services have sponsorship, approval,
 9
                           characteristics, ingredients, uses, benefits, or quantities which
10
                           they do not have or that a person has a sponsorship, approval,
11
                           status, affiliation, or connection which he or she does not have;
12
                   (4)     Representing that goods or services are of a particular standard,
13
                           quality, or grade, or that goods are of a particular style or
14
                           model, if they are of another;
15

16
                   (5)     Advertising goods or services with intent not to sell them as

17                         advertised.

18        42.      Plaintiff alleges Defendant’s advertising, marketing, packaging,
19   labeling and bottling is misleading, and misrepresents or omits important
20   information to potential purchasers and consumers of Nestle Pure Life Purified
21   bottled water. Plaintiff alleges Defendant has violated and continues to violate the
22   CLRA by misrepresenting the purity and purification of this water. Defendant
23   knew or should have known that these representations and advertisements were
24   false and misleading. Defendant has intentionally, negligently and recklessly
25   concealed and omitted the truth about the lack of purity and purification of its
26   drinking water sold to the public.
27        43.      Plaintiff alleges pursuant to California Civil Code §1782(d), Plaintiff
28

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 1   and the proposed class seeks a Court order enjoining the above-described wrongful
 2   acts and practices of Defendant and for restitution and disgorgement.
 3        44.       Plaintiff alleges pursuant to section 1782 of the Act, by certified
 4
     letters dated March 21, 2018, Plaintiff and the proposed class notified Defendant in
 5
     writing by certified mail of the particular violations of the CLRA set forth in
 6
     §1770, and demanded that Defendant stop the sale, distribution, advertising,
 7
     marketing, labeling, packaging or bottling of Nestle Pure Life Purified drinking
 8
     water in California, and to pay full restitution to all affected California consumers.
 9
     The CLRA letter was mailed as directed by Civil Code §1782. Plaintiff will
10
     amend this Complaint to bring specific claims under the CLRA after the statutory
11
     period has passed.
12
          45.       Concurrent with the filing of the complaint in this action, Plaintiff
13
     filed an Affidavit of Venue in accordance with Civil Code section 1780(d).
14
                                THIRD CLAIM FOR RELIEF
15

16
                Violation of Business &Professions Code Section 17200, et seq.,

17                                     Section 17500 et seq.

18        46.       Plaintiff incorporates by reference and realleges each and every

19   allegation contained in the foregoing paragraphs as if fully set forth herein.
20        47.       Plaintiff brings this claim individually and on behalf of the proposed
21   class for the last four years and continuing.
22        48.       The Unfair Competition Law, Business & Professions Code §17200,
23   et seq. (“UCL”), prohibits any “unlawful,” “fraudulent” or “unfair” business act or
24   practice and any false or misleading advertising. In the course of conducting
25   business, Defendant committed unlawful business practices by, inter alia, making
26   the representations (which also constitutes advertising within the meaning of
27   §17200) and omissions of material facts, as set forth more fully herein, and
28

                                                 12
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 1   violating Civil Code §§1572, 1573, 1709, 1710, 1711, 1770, Business &
 2   Professions Code §§17200, et seq., 17500, et seq., California Health & Safety
 3   Code §110390 et seq., 21 U.S.C. §301, et seq., and the common law.
 4
          49.      As alleged herein, Defendant’s misrepresentations and omissions of
 5
     material facts, constitute “unfair” business acts and practices within the meaning of
 6
     Business & Professions Code §§17200, et seq., in that Defendant’s conduct was
 7
     injurious to consumers, offended public policy, and was unethical and
 8
     unscrupulous.
 9
          50.      Plaintiff also asserts Defendant violated public policy by withholding
10
     material facts regarding, among other things, the purity and purification of its
11
     bottled drinking water, from consumers. Defendant’s violation of California’s
12
     consumer protection and unfair competition laws has resulted in harm to
13
     consumers including Plaintiff and the proposed class.
14
          51.      Plaintiff and the proposed class have suffered injury in fact and lost
15

16
     money or property as a result of Defendant’s conduct.

17        52.      Plaintiff and the class she seeks to represent reserve the right to allege

18   other violations of law which constitute other unlawful business acts or practices.
19        53.      The actions of Defendant constitute “unfair” business acts or practices
20   because, as alleged above herein.
21        54.      Plaintiff alleges violations of consumer protection, unfair competition
22   and truth in advertising laws, resulting in harm to Plaintiff and other purchasers
23   and consumers of Nestle Pure Life Purified drinking water. Defendant’s acts and
24   omissions also violate and offend the public policy against engaging in false and
25   misleading advertising, unfair competition and deceptive conduct towards
26   consumers. This conduct violates the unfair prong of Business & Professions Code
27   § 17200, et seq.
28

                                                13
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 1        55.       Defendant’s actions, claims, nondisclosures, and misleading
 2   statements, as alleged in this Complaint, were false, misleading and likely to
 3   deceive the consuming public within the meaning of Business & Professions Code
 4
     §17200, et seq.
 5
          56.       Plaintiff and other members of the proposed class have in fact been
 6
     deceived as a result of their reasonable reliance on Defendant’s representations and
 7
     omissions as alleged herein. Plaintiff and the proposed class have suffered injury
 8
     in fact and lost money as a result of these unlawful, unfair, and fraudulent
 9
     practices.
10
          57.       As a result of this conduct, Defendant has been able to reap unjust
11
     revenue and profit.
12
          58.       Unless restrained and enjoined, Defendant will continue to engage in
13
     the above-described conduct. Accordingly, Plaintiff alleges injunctive relief is
14
     appropriate.
15

16
          59.       Plaintiff, on behalf of herself, all others similarly situated, and

17   the general public, seeks an injunction prohibiting Defendant from continuing such

18   practices, corrective advertising and all other relief this Court deems appropriate,
19   consistent with Business & Professions Code §17203.
20                             FOURTH CLAIM FOR RELIEF
21                                Breach of Express Warranty
22        60.       Plaintiff incorporates by reference and realleges each and every
23   allegation contained in the foregoing paragraphs as though fully set forth herein.
24        61.       Plaintiff alleges, and each member of the proposed class, formed a
25   contract with Defendant at the time Plaintiff and the other members of the
26   proposed class purchased Defendant’s bottled water based on the representations
27

28

                                                  14
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 1   and warranties made by Defendant, including that Defendant’s water is “pure” and
 2   “purified”.
 3        62.      Plaintiff alleges the terms of sale included promises and affirmations
 4
     of fact made by Defendant to consumers in Defendant’s advertisements and
 5
     through Defendant’s long-term and widespread, pervasive marketing campaign, as
 6
     described herein.
 7
          63.      Defendant’s advertising, marketing, and packaging included express
 8
     warranties, which became part of the basis of the bargain, and is part of a
 9
     standardized contract between Plaintiff and the members of the proposed class on
10
     the one hand, and Defendant on the other. Defendant, through its advertising,
11
     marketing and packaging misrepresents the purity and purification of its water.
12
          64.      Plaintiff alleges Defendant breached the terms of their contracts,
13
     including the express warranties with Plaintiff and the proposed class by not
14
     providing its consumers with the bottled water they believed they were purchasing,
15

16
     as alleged above.

17        65.      As a result of Defendant’s breach, Plaintiff and the proposed class

18   have been damaged as alleged herein.
19                                FIFTH CLAIM FOR RELIEF
20                    VIOLATION OF FALSE ADVERTISING LAW
21                  (California Business & Professions Code §§ 17500 et seq.)
22        66.      Plaintiff incorporated by reference and re-alleges each and every
23   allegation contained in the foregoing paragraphs as though fully set forth herein.
24        67.      California Business and Professions Code section 17500 prohibits
25   “unfair, deceptive, untrue or misleading advertising.”
26        68.      Defendant violated California Business and Professions Code section
27

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 1   17500 by, among other things, misrepresenting the purity and purification of
 2   Defendant’s water. Nestle Pure Life Purified bottled drinking water was found to
 3   contain unacceptable amounts of plastic particles. These tested bottles showed
 4
     micro plastic contamination.       Defendant’s advertising, marketing, packaging,
 5
     labeling and bottling is misleading, and misrepresents or omits important
 6
     information to potential purchasers or consumers of it.
 7
          69.      Plaintiff alleges Defendant’s deceptive practices were specifically
 8
     designed to induce Plaintiff and the proposed class to purchase the Nestle Pure Life
 9
     bottled drinking water over those of Defendant’s competitors. Defendant’s
10
     deceptive practices were carried out in Defendant’s advertising, marketing and
11
     packaging, all which misrepresents the purity and purification of Nestle’s Pure Life
12
     bottled water.
13
          70.      Plaintiff and the proposed class would not have purchased Nestle Pure
14
     Life Purified bottled drinking water had it not been for Defendant’s omissions,
15

16
     misrepresentations and concealment of material facts regarding whether Nestle

17   Pure Life Purified drinking water is pure or purified.

18        71.      Plaintiff alleges she and the proposed class were denied the benefit of
19   the bargain when they decided to purchase Nestle’s Pure Life Purified bottled
20   drinking water over other brands. Had Plaintiff and the proposed class known that
21   Nestle Pure Life Purified bottled drinking water contained unacceptable amounts
22   of plastic particles and micro plastic contamination, they would not have purchased
23   Defendant’s bottled water. But for Defendant’s false and misleading advertising
24   and labeling, and omissions of fact regarding the purity or purification of this
25   water, Plaintiff and the proposed class would not have purchased or consumed
26   Nestle Pure Life Purified bottled drinking water, who specifically promoted the
27   purity and purification of this bottled water.
28

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 1        72.      Plaintiff alleges the content of the advertisements, as alleged herein,
 2   were of a nature likely to deceive a reasonable consumer. Defendant’s advertising,
 3   marketing and packaging misrepresents the purity and purification of this water.
 4
          73.      Defendant has engaged in an intensive, long-term and pervasive
 5
     advertising campaign, to which the consumers, including Plaintiff, were exposed,
 6
     Plaintiff need not present each and every advertisement upon which he relied. In
 7
     re Tobacco II Cases (2009) 46 Cal.4th 298, 328 (“where, as here, a plaintiff alleges
 8
     exposure to a long-term advertising campaign, the plaintiff is not required to plead
 9
     with an unrealistic degree of specificity that the plaintiff relied on particular
10
     advertisements or statements.”)
11
          74.      Defendant knew, or in the exercise of reasonable care, should have
12
     known, that the representations that its drinking water was pure and purified were
13
     untrue or misleading and likely to deceive reasonable purchasers and consumers of
14
     their bottled water.
15

16
          75.      Defendant’s misrepresentations and omissions alleged herein are

17   objectively material to the reasonable consumer, and reliance upon such

18   misrepresentations and omissions also establishes causation between Defendant’s
19   conduct and Plaintiff and the proposed class’ injuries.
20        76.      As a result of the foregoing, Plaintiff and the proposed class have
21   been injured in fact and lost money or property, and they are entitled to restitution
22   and injunctive relief.
23        77.      Unless restrained by this Court, Defendant will continue to engage in
24   misleading advertising, as alleged above, in violation of California Business and
25   Professions Code section 17500.
26

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 1                                SIXTH CLAIM FOR RELIEF
 2                                             FRAUD
 3        78.      Plaintiff incorporates by reference and realleges each and every
 4
     allegation contained in the foregoing paragraphs as though fully set forth herein.
 5
          79.      Plaintiff brings this cause of action on behalf of herself and the
 6
     members of the proposed class.
 7
          80.      When Defendant advertised and labeled Nestle Pure Life Purified
 8
     drinking water as “pure” and “purified” Defendant knew these advertising
 9
     statements were false and misleading.
10
          81.      Plaintiff and the proposed class would not have reasonably decided to
11
     purchase or consume Defendant’s drinking water but for Defendant’s false and
12
     misleading representations and concealment of material facts.
13
          82.      By misrepresenting and concealing material information about Nestle
14
     Pure Life Purified drinking water, Defendant intended to induce, and did
15

16
     reasonably induce, Plaintiff and the proposed class to purchase and consume this

17   water.

18        83.      Plaintiff and the proposed class justifiably and reasonably relied on
19   the representations made by Defendant about Nestle Pure Life Purified drinking
20   water.
21        84.      Defendant’s representations and omissions regarding the Pure Life
22   Purified bottled water, namely that the water is pure and purified, were made with
23   knowledge or with reckless disregard for whether this drinking water was actually
24   pure or purified.
25        85.      Defendant made representation of facts which were not true and
26   Defendant could not believe to be true at the time made, and made assertions of
27   fact, which were not true and Defendant had no reasonable grounds for believing
28

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 1   to be true at the times they were made, misled the public, through misleading
 2   images and in other manners (e.g., by misrepresenting the purity and purification
 3   of the water) and/or suppressed facts, which it was bound to disclose, or give
 4
     information of other facts which were likely to mislead for want of
 5
     communications of the suppressed facts.
 6
          86.      As a result of Defendant’s wrongful conduct, Plaintiff and the
 7
     proposed class have suffered and continue to suffer economic losses and other
 8
     general and specific damages, including but not limited to monies paid for the
 9
     water, and any interest that would have been accrued on those monies, all in an
10
     amount to be determined according to proof at time of trial.
11
          87.      As a direct and proximate result of Defendant’s misrepresentations
12
     and omissions, Plaintiff and the proposed class has been damaged in an amount
13
     according to proof at trial.
14
                                SEVENTH CLAIM FOR RELIEF
15

16
                               NEGLIGENT MISRPRESENTATION

17
          88.      Plaintiff incorporates by reference and re-alleges each and every

18   allegation contained in the foregoing paragraphs as though fully set forth herein.

19        89.      Defendant had a reasonable duty of care to its consumers to not
20   advertise, market and label Nestle Pure Life Purified drinking water as “pure” and
21   “purified” if in fact this water contains high levels of plastic particles. Defendant,
22   directly or through its agents and employees, breached this duty of care by making
23   the false representations, concealments, and nondisclosures to Plaintiffs and the
24   proposed class as alleged herein. Defendant breached the duties owed to Plaintiff,
25   its consumers by engaging in a long-term advertising marketing and labeling
26   practice of false and misleading statements which deceive and mislead, and which
27

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 1   continue to deceive and mislead, consumers about Nestle Pure Life Purified bottled
 2   water.
 3        90.      In making the representations of fact to Plaintiff and the proposed
 4
     class described herein, Defendant has, at a minimum, negligently failed to fulfill its
 5
     duties to disclose the material facts pertaining to the water in question.
 6
          91.      In making these representations and omissions, and in doing the acts
 7
     alleged above, Defendant acted without any reasonable or correct grounds for
 8
     marketing and labeling this bottled water as pure and purified. These omissions
 9
     and representations were untrue, and Defendant either (a) intended by said
10
     representations to induce the reliance of Plaintiff and the proposed class, or (b)
11
     acted with negligent and reckless disregard of the possibility that Plaintiff and the
12
     proposed class would rely on these representations, to their detriment.
13
          92.      Plaintiff and the proposed class did in fact reasonably rely, and
14
     continue to rely on these false representations, concealments and nondisclosures by
15

16
     Defendant when purchasing Nestle Pure Life Purified bottled drinking water, and

17   this reliance was justified.

18        93.      As a result of Defendant’s wrongful conduct, Plaintiff and the
19   proposed class have suffered and continue to suffer economic losses and other
20   general and specific damages, including but not limited to the amounts paid for
21   water, and any interest that would have been accrued on those monies, all in an
22   amount to be determined according to proof at time of trial.
23        94.      Plaintiff incorporates by reference and realleges each and every
24   allegation contained in the foregoing paragraphs as though fully set forth herein.
25        95.      As a proximate result of the wrongful conduct described herein by
26

27

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 1   Defendant, Plaintiff and the proposed class have suffered and continue to suffer
 2   damages, and are entitled to a return of all monies paid to Defendant for the water
 3   in question.
 4
          96.       Plaintiff seeks restitution of all moneys paid to purchasers of Nestle
 5
     Pure Life Purified bottled water in the last four years.
 6
                                     NINTH CLAIM FOR RELIEF
 7
                                            INJUNCTION
 8
          97.       Plaintiff incorporates all previous paragraphs of this complaint as
 9
     though full set forth herein.
10
          98.       Plaintiff seeks injunctive relief under the CLRA to prohibit the
11
     unlawful acts alleged herein, which threaten ongoing and future injury to the
12
     general public. Plaintiff seeks injunctive relief as permitted by law or equity,
13
     including: enjoining Defendant from continuing the unlawful practices as set forth
14
     herein, and directing Defendant to identify, with Court supervision, victims of its
15

16
     conduct and pay them restitution and disgorgement of all monies acquired by

17   Defendant by means of any act or practice declared by this Court to be wrongful.

18   Plaintiff also seek injunctive relief ordering Defendant to engage in a corrective
19   advertising campaign and to stop the sale, distribution, advertising, marketing,
20   labeling, packaging or bottling of Nestle Pure Life Purified drinking water in
21   California, and to pay full restitution to all affected California consumers.
22        99.       Plaintiff seeks to enjoin Defendant’s continuing false and misleading
23   advertisements and labeling regarding the Nestle Pure Life Purified bottled
24   drinking water being pure or purified.
25        100.      Plaintiff and the proposed class do not have a plain, speedy, and
26   adequate remedy in the ordinary course of law, other than the requested injunctive
27   relief.
28

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 1        101.     If not enjoined, Defendant will continue to engage in the unfair and
 2   illegal false advertising to its consumers.
 3                                   PRAYER FOR RELIEF
 4
          Wherefore, Plaintiff, on behalf of herself and the class, prays for a judgment:
 5
          1.       Certifying the proposed class lass as requested herein, and appointing
 6
     Plaintiff as Class Representative, and Plaintiff’s counsel as Class Counsel;
 7
          2.       Awarding Plaintiff and the proposed class all due damages, including
 8
     actual economic damages and general and specific damages;
 9
          3.       Awarding restitution and disgorgement of Defendant’s revenues to
10
     Plaintiff and the proposed class;
11
          4.       Awarding injunctive relief as permitted by law or equity, including:
12
     enjoining Defendant from continuing the unlawful practices as set forth herein, and
13
     directing Defendant to identify, with Court supervision, victims of its conduct and
14
     pay them restitution and disgorgement of all monies acquired by Defendant by
15

16
     means of any act or practice declared by this Court to be wrongful;

17        5.       Awarding injunctive relief ordering Defendant to engage in a

18   corrective advertising campaign and to stop the sale, distribution, advertising,
19   marketing, labeling, packaging or bottling of Nestle Pure Life Purified drinking
20   water in California, and to pay full restitution to all affected California consumers;
21        6.       Awarding attorneys' fees and costs to Plaintiff’s counsel;
22        7.       Awarding punitive damages as against Defendant;
23        8.       Awarding damages, fines and penalties against Defendant as
24   permitted by law;
25        9.       Providing such further relief as may be just and proper.
26

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 1                                   JURY DEMAND
 2        Plaintiff demands a trial by jury on all issues so triable.
 3   DATED: October 29, 2018                 HAMNER LAW OFFICES, APLC
 4
                                             /s/ Christopher J. Hamner
 5
                                             _______________________________
 6                                           By: Christopher J. Hamner, Esq.
                                             Attorneys for Plaintiff Cindy Baker on
 7
                                             behalf of herself, and others similarly
 8                                           situated
 9

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   1
                                CERTIFICATE OF SERVICE
   2
               I hereby certify that on this 29th day of October 2018, the foregoing
   3
         document was electronically filed with the Clerk of the Court using the CM/ECF
   4
         system and will be sent electronically to the registered participants.
   5
                                                 /s/ Christopher J. Hamner
   6                                             Christopher J. Hamner, Esq.
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                                            PROOF OF SERVICE
